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16   Attorneys Plaintiff and Putative Class and Collective Action Members
17   Additional counsel on next page

18                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
19
     Cody Bowlay-Williams, individually and on        Case No. 4:21-cv-09942-PJH
20   behalf of others similarly situated,
21                                                    JOINT SUPPLEMENT TO UNOPPOSED
                                  Plaintiff,          MOTION FOR PRELIMINARY
22                                                    APPROVAL OF SETTLEMENT
            v.
23                                                     Prior Hearing Date: February 9, 2023
     Google, LLC,                                      Time: 1:30 p.m.
24                                                     Judge: Phyllis J. Hamilton
                                  Defendant.                  Oakland Courthouse, Courtroom 3
25
26                                                    Complaint filed:      December 22, 2021
                                                      Trial date:           None set
27
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                 JOINT SUPPLEMENT TO MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENT
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                JOINT SUPPLEMENT TO MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENT
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             Cody Bowlay-Williams (“Plaintiff”), on behalf of himself and all others similarly situated,
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     seeks preliminary approval of class and collective action settlement reached with Google, LLC
3
     (“Defendant”). (Pl.’s Mem., ECF No. 51.) On February 23, 2023, the Court held a preliminary
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     approval hearing via Zoom.        (See Min. Entry, ECF No. 62.)         The Court seeks additional
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     information, including (1) proposed language to appear on the back of the settlement checks, (2)
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     changes to the language for the objection process, and (3) the legal nexus between the proposed cy
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     pres recipient and the cause of action. (See id.)
8
     I.      ALTERNATE TO OPTING IN BY CASHING SETTLEMENT CHECKS
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             The parties’ proposed settlement gives FLSA Collective Members the opportunity to join
10
     the case to receive payment for their overtime back wages in the settlement by simply cashing their
11
     settlement checks. (Pl.’s Mem. 6, ECF No. 51.) The Court questioned whether the proposed
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     settlement process comports with the written consent filing requirement of the FLSA, which
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     provides that “[n]o employee shall be a party plaintiff to any such action unless he gives his consent
14
     in writing to become such a party and such consent is filed in the court in which such an action is
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     brought.” 29 U.S.C. § 216(b). It requested that the parties provide proposed language to appear
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     on the back of the settlement checks. (See Min. Entry, ECF No. 62.)
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             To address the Court’s concern, the parties agreed to revise the Notice process to require
18
     that FLSA Collective Members submit a Consent to Join form to the settlement administrator to
19
     opt into the Action and participate in the Settlement, rather than opting in by cashing a settlement
20
     check. The parties provide a redline and clean version of the revised proposed FLSA Collective
21
     Member Notice as Exhibit B. The Notice provides that FLSA Collective Members must submit
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     the Consent to Join by mail, email, fax, or using a QR code within 60 days of the date the Notice is
23
     distributed. (Rev. FLSA Notice, Ex. B.) For those who sign up electronically, they will have the
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     option to indicate how they would like to receive their settlement funds: by mail (default), electronic
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     deposit, or through an app such as Venmo. Attached as Exhibit D, the parties provide the proposed
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     email version of this Notice to FLSA Collective Members, and as Exhibits E and F, a proposed
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     reminder postcard and reminder email to be distributed to those FLSA Collective Members who
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     have not submitted a Consent to Join as of 30 days of the Notice distribution.
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3    II.      OBJECTION PROCESS
4             The Court asked the parties to revise the proposed Notices to simplify the process for
5    objecting to the settlement, including allowing Class Members to appear at the Court hearing to
6    object to the settlement without providing advance written notice. (See Min. Entry, ECF No. 62.)
7    Proposed revisions are reflected in Exhibits A-F.
8    III.     CY PRES
9             The Court’s Procedural Guidance for Class Action Settlements provides that if the
10   settlement contemplates a cy pres award, the parties should explain how the recipient is related to
11   the     subject   matter   of   the    lawsuit     and    the   class   members’      claims.       See
12   https://www.cand.uscourts.gov/forms/procedural-guidance-for-class-action-settlements/              (last
13   visited March 9, 2023). The settlement provides Legal Aid at Work as the cy pres recipient.
14   (Settlement Agmt. p. 13, ECF No. 51–2.) Class counsel submit that, as demonstrated by the
15   Declaration of Joan Gaff, the President of Legal Aid at Work, provided as Exhibit F, their work is
16   closely tied to the subject matter of this unpaid overtime lawsuit, as one of areas in which it provides
17   substantial legal services is representing workers related to cases alleging wage and hour violations,
18   such as the failure to pay overtime.
19   Dated: March 9, 2023

20                                                    NICHOLS KASTER, PLLP

21                                                    By:     s/Michele R. Fisher
22                                                    Attorney for Plaintiff and Putative Class and
23                                                    Collective Action Members
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25                                                    PAUL HASTINGS LLP
26                                                    By:     s/Eric D. Distelburger
27                                                    Attorney for Defendant Google LLC
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